                          IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                         CIVIL ACTION NO. 3:24-MC-00110-KDB-SCR

        BRANDACE HOPPER,

                Petitioner,

                v.                                                ORDER

        CARMAX AUTO
        SUPERSTORES, INC.,

                Respondent.



       THIS MATTER is before the Court on Petitioner’s Motion to Vacate Arbitration Award

(Doc. No. 1). The Court has carefully considered this motion and the parties’ briefs. For the reasons

discussed below, the Court will DISMISS the motion for lack of subject matter jurisdiction.

                                  I.      LEGAL STANDARD

       Because it defines a court's power to adjudicate cases and controversies, whether a court

has subject matter jurisdiction is a “threshold matter” that a court must consider prior to reaching

the merits of a dispute. See Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 94–95, (1998);

Sucampo Pharmaceuticals, Inc. v. Astellas Pharma, Inc., 471 F.3d 544, 548 (4th Cir. 2006).

“Federal courts are not courts of general jurisdiction; they have only the power that is authorized

by Article III of the Constitution and the statutes enacted by Congress pursuant thereto.” Bender

v. Williamsport Area Sch. Dist., 475 U.S. 534, 541 (1986). No other matter can be decided without

subject matter jurisdiction. See United States v. Cotton, 535 U.S. 625, 630, (2002); U.S. v. Wilson,

699 F.3d 789, 793 (4th Cir. 2012).




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       The two primary sources of subject matter jurisdiction are diversity jurisdiction and federal

question jurisdiction. Diversity jurisdiction generally permits individuals to bring claims in federal

court where the claim exceeds $75,000.00 and the parties are citizens of different states. See 28

U.S.C. § 1332. Federal question jurisdiction permits an individual - regardless of the value of the

claim - to bring a claim in federal court if it arises under federal law, including the U.S.

Constitution. See 28 U.S.C. § 1331. Federal question jurisdiction requires that “the federal

question appears on the face of a well-pleaded complaint.” Am. Nat'l Red Cross v. S.G., 505 U.S.

247, 258 (1992).

       Subject matter jurisdiction cannot be conferred by the parties, nor can a defect in subject

matter jurisdiction be waived or forfeited by the parties. See United States v. Cotton, 535 U.S. at

630; U.S. v. Wilson, 699 F.3d at 793. Accordingly, questions of subject matter jurisdiction may be

raised at any point during the proceedings or sua sponte by the court when it appears that the court

may lack jurisdiction. See Wilson, 699 F.3d at 793; Brickwood Contractors, Inc. v. Datanet

Engineering, Inc., 369 F.3d 385, 390 (4th Cir. 2004). A court must dismiss an action pursuant to

Federal Rule of Civil Procedure 12(h)(3) “if the court determines at any time that it lacks subject

matter jurisdiction.” See Fed. R. Civ. P. 12(h)(3). The Petitioner bears the burden of proving

subject matter jurisdiction. Richmond, F. & P.R. Co. v. United States, 945 F.2d 765, 768 (4th Cir.

1991) and there is no presumption that a federal court has subject matter jurisdiction. See Pinkley,

Inc. v. City of Frederick, 191 F.3d 394, 399 (4th Cir. 1999).

                       II.     FACTS AND PROCEDURAL HISTORY

       In April 2023, Petitioner Brandace Hopper bought a used 2019 Infinity QX60 from

Respondent CarMax with a down payment of $100.00. Doc. No. 1-1 at 25. Petitioner signed a

Retail Installment Contract, in which he agreed to make monthly payments on the vehicle



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beginning June 14, 2023. Id. at 27-30. On June 13, 2023, he notified Respondent that he would not

be making payments on the vehicle but did not return it. Doc. No. 15 at 2.

       After multiple delinquency notices and a Notice of Default, which was sent on July 16,

2023, Respondent repossessed the vehicle in accordance with the terms of the Retail Installment

Contract. Id. See also Doc. No 1-1 at 25. On November 8, 2023, Petitioner attempted to pay the

loan with a “lawful Bill of Exchange/Negotiable Instrument Valued at a Sum of $85,000,” which

was refused by Respondent in a letter dated December 1, 2023. Doc. No. 4 at 1. Petitioner then

filed a Demand for Arbitration seeking $249,793.88. Doc. No. 15 at 2. The parties proceeded to

arbitration, where the arbitrator awarded Respondent $38,007.05 for breach of contract; found that

the vehicle was properly repossessed under the Retail Installment Contract; and authorized

Respondent to sell the vehicle and apply the proceeds toward Petitioner’s obligation under the

award. Doc. No. 1-1 at 25. Petitioner subsequently filed the present action, along with numerous

other motions.

                                      III.    DISCUSSION

       In his motion to vacate the arbitration award described above, Petitioner makes various

allegations of misconduct on the part of the arbitrator, including bias and failure to be impartial

due to being a member of the same state bar association as Respondent’s counsel; exceeding his

power by “failing to consider the ‘Executor office’ as the highest office, and equitable principles”;

misconduct due to “blind[ness] to the administration of the Estate, maxims of equity, principles,

and doctrines,” and lack of proper training and understanding of “estates, equitable claims, and

defenses”; allowing improper testimony because the witness testimony was “hearsay”; and

because Petitioner alleges he is a victim of “a severe form of trafficking in persons known as

involuntary servitude and peonage,” and his testimony to this was “ignored.” Doc. No. 1 at 2-3.



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       Before reaching the substance of the allegations, the Court must evaluate whether it has

jurisdiction under which it can adjudicate these claims. The Court plainly lacks diversity

jurisdiction in this matter because the value of the arbitration award in favor of Respondent is

$38,007.05, the amount of the unpaid car loan. Doc. No. 1-1 at 25. Petitioner, in requesting the

arbitration award be vacated, has alleged no further monetary damages, thus the amount in

controversy does not exceed $75,000.00. See Doc. No. 1. In addition, the arbitration award

authorizes Respondent to sell the car it lawfully repossessed and apply the proceeds against the

amount owed by Petitioner, thus lowering the amount in controversy below the $38,007.05 award.

Doc. No 1-1 at 25.

       Further, Petitioner concedes to a lack of diversity jurisdiction by stating, “CarMax asserts

that this Court lacks subject matter jurisdiction under 9 U.S.C. § 10 because the amount in

controversy does not meet the $75,000[.00] threshold required for diversity jurisdiction. However,

CarMax overlooks the fact that my claims involve federal questions . . . .” Doc. No. 20 at 2. Implicit

in this statement is Petitioner’s concession that the amount in controversy is less than $75,000.00.

As such, there is no basis for diversity jurisdiction.

       The Court next considers whether Petitioner invokes federal law as a basis for federal

question jurisdiction. As previously stated, Petitioner brings his claim under 9 U.S.C. § 10 of the

Federal Arbitration Act (“FAA”). The Supreme Court has held that a federal court has jurisdiction

to hear a motion to vacate or to confirm an arbitration award brought pursuant to Sections 9 or 10

of the FAA only if, on the face of the application itself, Petitioner “alleges that federal law (beyond

Section 9 or 10 itself) entitles the applicant to relief . . . .” Badgerow v. Walters, 596 U.S. 1, 9

(2022); see also SmartSky Networks, LLC v. DAG Wireless, Ltd., 93 F.4th 175, 182 (4th Cir. 2024)

(noting that while “Sections . . . 9-11 authorize certain actions that may be brought in federal court,



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they do not themselves support federal jurisdiction. Therefore, an applicant seeking to vacate an

arbitral award under Sections 9 or 10 must identify a grant of jurisdiction apart from Section . . .

10 itself, conferring ‘access to a federal forum.’”) (citation omitted).

       Further, under Badgerow, the Court is instructed to look to the face of the application itself

for an independent jurisdictional basis, as opposed to looking at underlying substantive claims,

which is foreclosed in this setting. 596 U.S. at 9. Here, on the face of the application, Petitioner

makes various allegations of misconduct on the part of the arbitrator, as noted previously. His only

federal basis, however, for seeking vacation of the arbitration award falls under 9 U.S.C. § 10.

Doc. No. 1. Therefore, because Petitioner has not identified a separate and independent basis

beyond 9 U.S.C. § 10 in support of federal question jurisdiction, the Court does not have federal

question jurisdiction and may not adjudicate the claim.

       In sum, this Court lacks both diversity and federal question jurisdiction, and thus, without

reviewing the merits, must dismiss the matter accordingly. In addition, Petitioner’s Motions to

Deposit a Negotiable Instrument (Doc. No. 3), Enter a Plea of Tender and Release (Doc. Nos. 4

and 24), Disqualify Counsel (Doc. No 11), Strike Response (Doc. No. 19), and for Sanctions (Doc.

No. 29) will all be DENIED as moot.

                                          IV.     ORDER

       NOW THEREFORE IT IS ORDERED THAT:

           1. Petitioner’s Motion to Vacate Arbitration Award is DISMISSED without

               prejudice;

           2. Petitioner’s Motions to Deposit a Negotiable Instrument (Doc. No. 3), Enter a Plea

               of Tender and Release (Doc. Nos. 4 and 24), Disqualify Counsel (Doc. No 11),




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      Strike Response (Doc. No. 19), and for Sanctions (Doc. No. 29) are DENIED

      without prejudice as moot; and

   3. The Clerk is directed to close this matter in accordance with this Order.

 SO ORDERED ADJUDGED AND DECREED.


                  Signed: October 18, 2024




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